820 F.2d 1220Unpublished Disposition
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.David R. MATTHEWS, Plaintiff-Appellant,andKenneth M. Whitley;  J.C. Daniels;  Dene R. Francis, Plaintiffs,v.William D. LEEKE;  David I. Morgan;  Tony L. Strawhorn,Defendants-Appellees.
    No. 86-7304.
    United States Court of Appeals, Fourth Circuit.
    Submitted Nov. 21, 1986.Decided June 8, 1987.
    
      Before RUSSELL, WIDENER and ERVIN, Circuit Judges.
      David R. Matthews, appellant pro se.
      Robert E. Petersen, Office of the Attorney General, for appellees.
      PER CURIAM:
    
    
      1
      A review of the record and the district court's opinion accepting the recommendation of the magistrate discloses that this appeal from its order refusing relief under 42 U.S.C. Sec. 1983 is without merit.*   Because the dispositive issues recently have been decided authoritatively, we dispense with oral argument and affirm the judgment below on the reasoning of the district court.  Matthews v. Leeke, C/A No. 85-2759 (D.S.C., Sept. 18, 1986).
    
    AFFIRMED
    
      
        *
         David R. Matthews is the only appellant in this case, as he alone signed the notice of appeal.  See Covington v. Allsbrook, 636 F.2d 63 (4th Cir.1980), cert. denied, 451 U.S. 914 (1981)
      
    
    